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OF TEXAS






NO. WR-71,401-01





EX PARTE JUAN RAUL NAVARRO RAMIREZ





ON APPLICATION FOR POST-CONVICTION WRIT OF HABEAS CORPUS


FILED IN CAUSE NO. CR-0551-04-G(1) IN THE 370TH DISTRICT COURT


HIDALGO COUNTY





	Per Curiam.  

O R D E R



	In December 2004, a jury found applicant guilty of the offense of capital murder. 
The jury answered the statutory punishment questions in such a way that the trial court set
applicant's punishment at death.  This Court affirmed applicant's conviction and sentence
on direct appeal. Ramirez v. State, No. AP-75,167 (Tex.Crim.App. December 12, 2007). 
On February 11, 2009, this Court remanded applicant's case  to the trial court.  It has been
more than two years since the application was remanded.  Accordingly, we order the trial
court to resolve any remaining issues within 90 days from the date of this order.  The
clerk shall then transmit the complete writ record to this Court within 120 days from the
date of this order.  Any extensions of time shall be obtained from this Court.

	IT IS SO ORDERED THIS THE 1ST DAY OF AUGUST, 2012

Do Not Publish


